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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    BILLY ALFARO,                          Case No. EDCV 20-0970 RGK (RAO)
  12                       Petitioner,
  13          v.                               JUDGMENT
  14    T. JUSINO,
  15                       Respondent.
  16

  17         Pursuant to the Court’s Order Accepting Findings, Conclusions, and
  18   Recommendations of United States Magistrate Judge,
  19         IT IS ORDERED AND ADJUDGED that the Petition is denied, and this action
  20   is dismissed without prejudice.
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  22   DATED: January 12, 2021
  23
                                          R. GARY KLAUSNER
  24                                      UNITED STATES DISTRICT JUDGE
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